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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DELAWARE


In re:                                                                   Chapter 11

AMYRIS, INC., et al.,                                                    Case No. 23-11131 (TMH)

                                       Debtors. 1                        (Jointly Administered)


NOTICE OF AMENDED2 AGENDA FOR HEARING ON DECEMBER 20, 2023 AT 3:00
 P.M. (PREVAILING EASTERN TIME3) BEFORE THE HONORABLE THOMAS M.
HORAN IN THE U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE

    This hearing will be conducted via Zoom only before the Honorable Thomas M. Horan, in
     the United States Bankruptcy Court for the District of Delaware, 824 Market Street, 3rd
                Floor, Courtroom #7. All parties are expected to attend via Zoom.
                      All participants must register at the Zoom link below.

https://debuscourts.zoomgov.com/meeting/register/vJItcemvpjIsHOwdr1ouDQKa3PPgdrWX3J4

          MATTERS GOING FORWARD:

          1. Motion for (I) an Order (A) Approving Bid Procedures for the Sale of the Debtors
             Brand Assets; (B) Approving Certain Bid Protections in Connection with the Debtors
             Entry into Any Potential Stalking Horse Agreements; (C) Scheduling the Auction and
             Sale Hearing; (D) Approving the Form and Manner of Notice Thereof; and [E)
             Granting Related Relief; and (II) An Order or Orders (A) Approving the Sale of the
             Debtors Brand Assets Free and Clear Of All Encumbrances; and (B) Approving the
             Assumption and Assignment of Executory Contracts and Unexpired Leases [Filed
             September 18, 2023, Docket No. 316].

          Response Deadline: December 18, 2023 [Docket No. 926].

          Responses Received:

                   a.           Limited Objection and Reservation of Rights of Sakana, LLC as to Debtors
                                Motion for (I) An Order (A) Approving Bid Procedures for The Sale of The
                                Debtors Brand Assets; (B) Approving Certain Bid Protections in
                                Connection with The Debtors Entry into Any Potential Stalking Horse

1
      A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal
      place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
      Emeryville, CA 94608.
2
      Amended items appear in bold.
3
      All motions and other pleadings referenced herein are available online at the following web address:
      https://cases.stretto.com/Amyris.


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                                Agreements; (C) Scheduling The Auction and Sale Hearing; (D) Approving
                                The Form and Manner of Notice Thereof; and (E) Granting Related Relief;
                                and (II) An Order or Orders (A) Approving The Sale of The Debtors Brand
                                Assets Free and Clear of All Encumbrances; and (B) Approving The
                                Assumption and Assignment of Executory Contracts and Unexpired Leases
                                [Filed December 11, 2023, Docket No. 878].

                   b.           Limited Objection to the Rose Inc. Sale, Demand for Adequate
                                Assurance and Reservation of Rights of Quiet Logistics, Inc. [Filed
                                December 18, 2023, Docket No. 929].

                   c.           Limited Objection and Reservation of Rights of JVN Entertainment,
                                Inc. and Jonathan Van Ness Relating to the JVN Consumer Brand Sale
                                [Filed December 18, 2023, Docket No. 931].

         Related Documents:

                                [Signed] Order (A) Approving Bid Procedures for the Sale of the Debtors’
                                Brand Assets; (B) Approving Certain Bid Protections In Connection with
                                the Debtors’ Entry Into Any Potential Stalking Horse Agreements; (C)
                                Scheduling the Auction and Sale Hearing; (D) Approving the Form and
                                Manner of Notice Thereof; and [E) Granting Related Relief [Filed October
                                16, 023, Docket No. 553].

                                Notice of Extension of Certain Sale-Related Deadlines [Filed October 29,
                                023, Docket No. 628].

                                Notice of Auction for the Debtors’ JVN, Stripes, and Rose, Inc. Brand
                                Assets [Filed December 10, 2023, Docket No. 861].

                                Notice of Filing of Successful Bidder and Auction Results for Sale of JVN
                                Brand Assets [Filed December 14, 2023, Docket No. 908].

                                Notice of Filing of Successful Bidder and Auction Results for Sale of
                                Pipette Brand Assets [Filed December 12, 2023, Docket No. 909].

                                Amended Notice of Filing of Successful Bidder and Auction Results for
                                Sale of JVN Brand Assets [Filed December 12, 2023, Docket No. 911].

                                Amended Notice of Filing of Successful Bidder and Auction Results for
                                Sale of JVN Brand Assets [Filed December 14, 2023, Docket No. 912].

                                Limited Objection to the JVN Consumer Brand Sale, Demand for Adequate
                                Assurance and Reservation of Rights of Quiet Logistics, Inc. [Filed
                                December 4, 2023, Docket No. 921].

                                Notice of Filing of Successful Bidder and Auction Results for Sale of
                                Stripes Brand Assets [Filed December 15, 2023, Docket No. 923].




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                                Notice of Filing of Successful Bidder and Auction Results for Sale of Rose
                                Brand Assets [Filed December 15, 2023, Docket No. 924].

                                Notice of Hearing on Sale of the Debtors’ JVN, Pipette, Rose and Stripes
                                Brand Assets [Filed December 15, 2023, Docket No. 926].

                                Notice of Filing of Revised Stripes Sale Order and Asset Purchase
                                Agreement [Filed: 12/19/23] (Docket No. 958).

                                Declaration of Lorie Beers in Support of Motion for (I) an Order (A)
                                Approving Bid Procedures for the Sale of the Debtors’ Brand Assets;
                                (B) Approving Certain Bid Protections in Connection With the
                                Debtors’ Entry Into Any Potential Stalking Horse Agreements; (C)
                                Scheduling the Auction and Sale Hearing; (D) Approving the Form and
                                Manner of Notice Thereof; and (E) Granting Related Relief; and (II)
                                an Order or Orders (A) Approving the Sale of the Debtors’ Brand
                                Assets Free and Clear of All Encumbrances; and (B) Approving the
                                Assumption and Assignment of Executory Contracts and Unexpired
                                Leases [Filed: 12/20/23] (Docket No. 962).

                                Notice of Filing of Revised Rose, Inc. Sale Order and Asset Purchase
                                Agreement [Filed: 12/20/23] (Docket No. 963).

                                Certification of No Objection Regarding Notice of Filing of Successful
                                Bidder and Auction Results for Sale of Pipette Brand Assets [Filed:
                                12/20/23] (Docket No. 964).

         Status: This matter is going forward.

         2. Motion for (I) an Order (A) Approving Bid Procedures for the Sale of the Debtors’
            Lab-to-Market Assets; (B) Setting Minimum Reserve Price; (C) Scheduling the
            Auction and Sale Hearing; (D) Approving the Form and Manner of Notice Thereof;
            and (E) Granting Related Relief; and (II) an Order or Orders (A) Approving the Sale
            of the Debtors’ Lab-to-Market Assets Free and Clear of All Encumbrances; and (B)
            Approving the Assumption and Assignment of Executory Contracts and Unexpired
            Leases [Filed December 14, 2023, Docket No. 917].

         Response Deadline: December 19, 2023.

         Responses Received:

                                Limited Objection of Ad Hoc Cross-Holder Group to Debtors' Motion
                                for an Order (I) Approving the Bid Procedures for the Sale of the
                                Debtors' Lab-to-Market Assets; (B) Setting Minimum Reserve Price;
                                (C) Scheduling the Auction and Sale Hearing; (D) Approving the Form
                                and Manner of Notice Thereof; and (E) Granting Related Relief; and
                                (II) an Order or Orders (A) Approving the Sale of the Debtors' Lab-to-
                                Market Assets Free and Clear of All Encumbrances; and (B)



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                                Approving the Assumption and Assignment of Executory Contracts
                                and Unexpired Leases [Filed December 18, 2023, Docket No. 945].

         Related Documents:

                                Motion to Shorten Notice Period and Schedule Hearing with Respect to the
                                Motion for (I) an Order (A) Approving Bid Procedures for the Sale of the
                                Debtors’ Lab-to-Market Assets; (B) Setting Minimum Reserve Price; (C)
                                Scheduling the Auction and Sale Hearing; (D) Approving the Form and
                                Manner of Notice Thereof; and (E) Granting Related Relief; and (II) an
                                Order or Orders (A) Approving the Sale of the Debtors’ Lab-to-Market
                                Assets Free and Clear of All Encumbrances; and (B) Approving the
                                Assumption and Assignment of Executory Contracts and Unexpired Leases
                                [Filed December 12, 2023, Docket No. 918].

                                [Signed] Order Shortening Notice Period and Scheduling Hearing With
                                Respect to the Motion for (I) an Order (A) Approving Bid Procedures for
                                the Sale of the Debtors’ Lab-to-Market Assets; (B) Setting Minimum
                                Reserve Price; (C) Scheduling the Auction and Sale Hearing; (D)
                                Approving the Form and Manner of Notice Thereof; and (E) Granting
                                Related Relief; and (II) an Order or Orders (A) Approving the Sale of the
                                Debtors’ Lab-to-Market Assets Free and Clear of All Encumbrances; and
                                (B) Approving the Assumption and Assignment of Executory Contracts and
                                Unexpired Leases [Filed December 15, 2023, Docket No. 920].

                                Notice of Hearing re Debtors’ Motion for (I) an Order (A) Approving Bid
                                Procedures for the Sale of the Debtors’ Lab-to-Market Assets; (B) Setting
                                Minimum Reserve Price; (C) Scheduling the Auction and Sale Hearing; (D)
                                Approving the Form and Manner of Notice Thereof; and (E) Granting
                                Related Relief; and (II) an Order or Orders (A) Approving the Sale of the
                                Debtors’ Lab-to-Market Assets Free and Clear of All Encumbrances; and
                                (B) Approving the Assumption and Assignment of Executory Contracts and
                                Unexpired Leases [Filed December 15, 2023, Docket No. 925].

                                Certification of Counsel Regarding Debtors’ Motion for (I) an Order
                                (A) Approving Bid Procedures for the Sale of the Debtors’ Lab-To-
                                Market Assets; (B) Setting Minimum Reserve Price; (C) Scheduling the
                                Auction and Sale Hearing; (D) Approving the Form and Manner of
                                Notice Thereof; and (E) Granting Related Relief; and (II) an Order or
                                Orders (A) Approving the Sale of the Debtors’ Lab-To-Market Assets
                                Free and Clear of All Encumbrances; and (B) Approving the
                                Assumption and Assignment of Executory Contracts and Unexpired
                                Leases [Filed: 12/20/23] (Docket No. 965).




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         Status: This matter is going forward. The Ad Hoc Cross-Holder Group’s objection
         is resolved and the Debtors have submitted a Certification of Counsel with revised
         order which reflects the resolution. If the revised order is acceptable to the Court no
         hearing is needed on this matter.


 Dated: December 20, 2023                        PACHULSKI STANG ZIEHL & JONES LLP

                                                 /s/ James E. O’Neill
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                                                 Counsel to the Debtors and Debtors in Possession




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